     2:18-cv-01653-DCN       Date Filed 03/12/19   Entry Number 50     Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION
MICFO, LLC,                            )
                                       )    CASE NO.: 2:18-cv-01653-DCN
              Plaintiff,               )
                                       )
vs.                                    )
                                       )
Victoria Latham and Erin Larkin,       )     DEFENDANT LATHAM’S MOTION
                                       )      FOR STATUS CONFERENCE
              Defendants,              )
_________________________________)
                                       )
Victoria Latham and Erin Larkin        )
                                       )
              Third-Party Plaintiffs,  )
                                       )
vs.                                    )
                                       )
Amir Golestan, Individually,           )
                                       )
              Third-Party Defendant.   )
_________________________________)

      NOW COME the Plaintiffs, by and through their undersigned counsel, and file this

Motion for an in-person and/or telephonic Status Conference of all Parties and This Hon.

Court, pursuant to FRCP rule 16(a)(2), (3), and (5).

                                         FACTS

      Background, this matter was filed by Plaintiff on or about June 15, 2018, alleging,

inter alia, a violation of the South Carolina Uniform Trade Secrets Act. Specifically,

Plaintiff alleged that Defendants downloaded to their own personal devices certain

corporate materials and information of the Plaintiff. Defendant Latham has admitted that

such materials were downloaded, but that they were not violations of any state and/or

federal law, pursuant to the Defense of Trade Secrets Act, as Latham alleges that the

materials were downloaded and shared with the Federal Bureau of Investigation and her

                                            1
      2:18-cv-01653-DCN             Date Filed 03/12/19         Entry Number 50          Page 2 of 9




undersigned counsel for the sole purpose of informing the proper authorities as to

fraudulent corporate practices of the Plaintiff, related to the creation of sham corporate

and individual identities used to defraud its own customers, vendors, and the American

Register of Internet Numbers (“ARIN”) is a nonprofit, member-based organization that

administers IP addresses & ASNs in support of the operation and growth of the Internet 1.

Defendant Latham has also alleged various counterclaims back against Plaintiff and

against its principal Golestan, as a Third-Party Defendant, mostly tied to the same

underlying facts of Latham’s defense, namely that Plaintiff and Third-Party Defendant are

engaged in pervasive fraud.

        Early on in the litigation, and without, and prior to, the Parties even engaging in a

FRCP 26(f) conference, or This Court even issuing a Scheduling Order, the Parties jointly

advised the court that they were making efforts to resolve this matter by way of an early

exchange of the alleged corporate data and documents which Plaintiff alleges Defendants

to of taken, and to inspect the metadata, via Plaintiff’s own forensic expert, Rosen

Litigation Technologies, in order to confirm that the data was not taken and provided to

any competitors and/or sources other than those which Defendants have previously

represented. See Ex. A, email chain of Oct. 10, 2018 – Dec. 15, 2018, between Lisa

Richberg, USDC, and counsel for Parties, wherein Plaintiff’s counsel indicated they

needed four (4) weeks to review the ESI. Upon information and belief all electronic data

of the Defendants has been submitted to Plaintiff’s expert, John Akerman, Esq., Rosen

litigation technology consulting Inc., on or about December 7, 2018, who has in turn




1
 ARIN is the successor entity of Defense Advanced Research Projects Agency (“DARPA”), regarding the
administration of IP addresses & ASNs.

                                                      2
       2:18-cv-01653-DCN             Date Filed 03/12/19          Entry Number 50           Page 3 of 9




submitted the same to Plaintiff and his counsel for review. See Ex. B, emails between

Attorney Brewer and Plaintiff’s Expert Akerman, Dec. 6-7, 2018.

        Significant to both this Motion and the Defendants entering into this attempt at

resolution was the notion that both Defendants had a significant defense(s), acting as a

bar to Plaintiff’s claims, and that, as young women, Defendants did not have significant

financial resources to engage in federal court litigation. Therefore, if Plaintiff’s case was

on shaky footing and a resolution could be reached early without the expenditure of

significant litigation monies by the Defendants, then the same would benefit both Parties2.

        Since December 7, 2018, counsel for the Defendants have reached out to

Plaintiff’s counsel on numerous occasions to ask the status of Plaintiff’s review of

documents and electronic data submitted to Plaintiff’s expert, and to gauge the status of

a resolution. After each such communication by defense counsel, Plaintiff’s counsel

responded that our messages had been conveyed to the Plaintiff and they would be back

with us “soon”. See Ex. C, February 12, 2019, email between Attorney Brewer and

Attorney McElwaine, regarding communication regarding status of settlement

negotiations. It has now been three months since the documents and electronic data were

produced to Plaintiffs and it has been three months without any solid indication of where

this process is going.

        In the meantime Defendant Latham has become aware of two matters, which she

believes is causing Plaintiff/Third-Party Defendant (both of whom are the alter-ego of the

same person, Amir Golestan) to both intentionally delay reviewing the very documents



2
 Counsel for both the Plaintiff/Third-Party Defendant and both Defendants are grateful to The Court for its
patience and cooperation in this regard.


                                                        3
     2:18-cv-01653-DCN        Date Filed 03/12/19     Entry Number 50       Page 4 of 9




and electronic data Defendants provided, and to intentionally delay making any effort to

resolve this matter as had been previously represented to the Court.

                                      ARIN Litigation

       The first issue involves Plaintiff’s litigation with ARIN. On or about December 6,

2018, the day before Plaintiff received Latham’s electronic data in this case, ARIN

attorneys wrote Nelson Mullins accusing Plaintiff of fraud, by means of false and

fabricated documents of fake alias or shell/shelf entities, by means of forged signatures

and fake documents, with the intent of fraudulently obtaining IP addresses to monetize

and re-sell on a secondary market. See Ex. D Verified Complaint of OppoBox, LLC, et.

al. [a/k/a Micfo/Golestan] v. ARIN, Dec. 20, 2018, Ex. N to the Verified Complaint.

       As a result of this letter, Plaintiff and Third-Party Defendant, through its other

fictional shell/shelf corporations and alter egos filed a lawsuit through their undersigned

legal counsel, Nelson Mullins, in the United States District Court for the Eastern District

of Virginia (Alexandria Division), OppoBox, LLC, et. al, v. ARIN, Case No.: 1:18-cv-01572,

on or about December 20, 2018, in which it was alleged that the Plaintiff entities in that

case were simply in alter ego (or “related corporate entity of Micfo,”) of Plaintiff Micfo, and

that Plaintiffs alter egos were seeking injunctive relief against ARIN. See Ex. D Verified

Complaint of OppoBox, LLC, et. al. [a/k/a Micfo/Golestan] v. ARIN, Dec. 20, 2018.

       On or about December 21, 2018, and injunction hearing was held in Alexandria,

VA, attended by Plaintiff’s underlying counsel Nelson Mullins Riley & Scarborough, LLC,

in which Defendant ARIN, through its underlying counsel, attorney Stephen Ryan, Esq.,

McDermott Will & Emery, LLP, opposed the Plaintiff’s motion for injunctive relief by

providing its own evidence, corroborated by Defendant Latham’s corroborating



                                              4
     2:18-cv-01653-DCN        Date Filed 03/12/19   Entry Number 50    Page 5 of 9




allegations and Micfo’s admissions in this case, that Micfo/Golestan had committed fraud

and lied to the Court.

       MR. RYAN [ARIN attorney]: I'm not going to rest on this South
       Carolina stuff. The South Carolina stuff is a third party's [Latham’s]
       corroboration of the fraud, but I have real proof of an
       extensive fraud that is at least a $10 million fraud that
       you're being asked to grant a TRO to protect.
       And I think when somebody comes into court like this,
       they've opened themselves up now to a proceeding where,
       candidly, they have lied to the Court …

See Ex. E Transcript of Injunctive Hearing with the Hon. Brinkema, Case No.: 1:18-cv-

01572, Dec. 21, 2018, (pg. 11, ln. 11-18) (emphasis added). While Defendant Latham

was aware of Plaintiff/Third-Party Defendant’s fraud, ARIN has a precise understanding

of Golestan’s fraud. ARIN then described the exact fraud that Micfo/Golestan admitted

to in this case as follows:

       MR. RYAN: Because it weighs on the Court that
       really -- we set up arbitration as the mechanism. Every
       contract here is false. It was with an alias or a person who
       didn't exist. We were induced to contract with someone who
       doesn't exist, and we would never have given the addresses to
       them.
       Let me explain the value of the addresses to the
       Court, and if –

       MR. RUGGIO [Nelson Mullins]: I'm going to object, Your Honor, because
       I think at this point, Your Honor, you've made a ruling, and
       we'll consider whether we'll file for a rehearing on that, but
       I think really have objection to Mr. Ryan going on about things that I
       can't be present to challenge it in person.

       THE COURT: Well, you're present on the phone, and
       you have a good, strong voice, so we're hearing you loud and
       clear. I'm going to let Mr. Ryan finish.
       Go ahead, Mr. Ryan.

       MR. RYAN: Let me just finish. When the Internet was
       created, there were 4 billion numbers that were 32-bit
       combination numbers. There are only 4 billion possible 32-bit

                                            5
     2:18-cv-01653-DCN       Date Filed 03/12/19   Entry Number 50      Page 6 of 9




      numbers. That's what IPv4 is, Internet Protocol version 4.
      We're now issuing Internet Protocol version 6, and we will be
      using that for 300 to 1,000 years.

      In this interregnum period where people are switching
      from v4 to v6, the v4 addresses have monetary value, and ARIN
      created a transfer market where someone who is a legitimate
      holder of resources, which the Plaintiff is not, can sell the
      rights to those numbers to others.

      The Plaintiff has already transferred numbers to
      China and Saudi Arabia in the, in the recent past. Those
      numbers are in all likelihood blocks that should never have
      been granted to them, but they've monetized it, and one of the
      agreements that I had with counsel in writing is that they
      would tell us what was the monetary value they derived from
      those blocks, and I will tell you that based on the number of
      resources, it's what we call a /16, which is 65,000 numbers.
      Each number is worth no less than $10 an address, and right
      now, I'm told the market price is 19 to 20. So if you multiply
      the 65,000 in that one block that was transferred out to China
      and Saudi Arabia, you can see the profit that is made by
      selling the addresses by a party who has defrauded us to obtain
      them. So if anyone should be asking for a restraining order
      here, it's my client.

      Now, the problem with the, with the arbitration
      clause, it's arbitration in a contract that is fraudulently
      obtained in a sense, and they've brought that issue on before
      you.


      See Ex. E Transcript of Injunctive Hearing with the Hon. Brinkema, Case No.: 1:18-

cv-01572, Dec. 21, 2018, (pg. 13, ln. 14 – pg. 15, ln.11) (emphasis added). As a result of

this hearing and the Court’s admonition of the Micfo entities, the OppoBox/Micfo Entities

voluntarily dismissed their lawsuit against ARIN. See Ex. F, OppoBox, LLC/Micfo, LLC,

Voluntary Dismssal. Upon information and belief, the FBI has moved forward with its

investigation of Micfo/Golestan, going so far as to interview Defendant Latham as recently




                                            6
     2:18-cv-01653-DCN        Date Filed 03/12/19     Entry Number 50      Page 7 of 9




as within the last month, and going so far as to ask Defendant Larkin for a future interview

on the matter, just last week.

                                    Golestan Marital Litigation

       On or about December 14, 2018, Kristin Golestan, filed an action for divorce

against Third-Party Defendant Amir Golesatan. The complaint alleged in detail:

       7.     Defendant has a violent temper and often goes into fits of rage without just

       cause or provocation. During these rages, he is very threatening, he is emotionally

       and verbally abusive, he is irrational and unpredictable toward Plaintiff, the children

       of the Parties, and others. When Defendant goes into these fits of rage, Plaintiff

       becomes in fear of her safety, and the safety of others, from Defendant. Defendant,

       when he becomes angry and abusive, periodically loses control and takes his

       anger out on Plaintiff and the children of the Parties. Defendant has threatened to

       divorce Plaintiff on many occasions.

See. Ex. G, Complaint of Golestan v. Golestan, Case No.: 2018-DR-10-4289, Charleston

County Court of Common Pleas, filed Dec. 14, 2018. And that:

       48.    Defendant has dual citizenship between the United States of America and

       Iran. Plaintiff [Kristn Golestan] is fearful that Defendant will attempt to remove the

       children from the United States of America as he has threatened to do so.

See. Ex. G, Complaint of Golestan v. Golestan, Case No.: 2018-DR-10-4289, Charleston

County Court of Common Pleas, filed Dec. 14, 2018.

                                 Basis for Status Conference

       FRCP 16(a) allows for the Court to order a Status Conference in order to either

expedite the disposition of the action, to establish continuing controls of the case will not



                                              7
     2:18-cv-01653-DCN        Date Filed 03/12/19    Entry Number 50       Page 8 of 9




be protracted because of lack of management, and to facilitate settlement. All counsel

have record have made affirmative representations to This Court, that the early exchange

of electronic data between the Parties would be used to facilitate an early and orderly

discussion about possible resolution of the case.

       While Defendant Latham believes that Nelson Mullins, the attorneys for Plaintiff

and Third-Party Defendant, have made good faith efforts to contact their clients and to

work towards a resolution, which would be in the best interests of all Parties, Latham

believes Plaintiff/Third-Party Defendant Micfo/Golestan, is intentionally delaying its/his

own counsel’s efforts to work toward resolution, in direct contradiction of what was relayed

to the Court.     This is likely due to the concurrent, related legal actions and FBI

investigations, that Plaintiff/Third-Party Defendant is now engulfed in, due to its/his

admitted fraud.

       Defendant Latham has regularly followed up with Plaintiffs counsel and has even

made a specific demand for resolution to Plaintiffs and Third-Party Defendants on

January 31, 2019. While counsel for Plaintiff and Third-Party Defendants has replied to

the Defendants that Plaintiff has received the demand and that it was passed it on to the

client, Plaintiff’s counsel has indicated repeatedly that they are waiting on a response

from for their client, with no indication of whether the offer has been accepted or rejected.

This has been a repeated refrain for over three months now from Micfo/Golestan counsel,

without any indication that resolution can or cannot be obtained.

       We believe this matter can still be resolved, in the best interests of all Parties

involved, without the necessity for lengthy and expensive discovery and motions practice.

Therefore, we are respectfully requesting that the Court hold a status conference to help



                                             8
     2:18-cv-01653-DCN       Date Filed 03/12/19   Entry Number 50      Page 9 of 9




the Parties determine whether continued settlement negotiation/mediation would be

warranted at an early stage, or whether a 26(f) conference and/or scheduling order should

be issued and the Parties should proceed forward with litigation.

                                                BREWER LAW FIRM, LLC
                                                /s/Barrett Brewer
                                                _____________________________
                                                Barrett R. Brewer
                                                District of S.C. Federal Bar No.: 8081
                                                Post Office Box 1847
                                                Mount Pleasant, SC 29465
                                                o: (843) 779-7454
                                                f: (843) 779-7456
                                                Email: barrett@brewerlawfirmsc.com
                                                Attorney for Victoria Latham

March 12, 2019
Charleston, South Carolina




                                            9
